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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                  Eastern Division

 ELIM ROMANIAN PENTECOSTAL CHURCH,             )
 and LOGOS BAPTIST MINISTRIES,                 )
                                               )
               Plaintiffs,                     )              Case No. 1:20-cv-02782
                                               )
       v.                                      )
                                               )
 JAY ROBERT PRITZKER, in his official capacity )
 as Governor of the State of Illinois,         )
                                               )
               Defendant.                      )

                                    NOTICE OF APPEAL

       Pursuant to Fed. R. App. P. 3, Plaintiffs Elim Romanian Pentecostal Church and Logos

Baptist Ministries, by and through the undersigned counsel, hereby notice their appeal to the

United States Court of Appeals for the Seventh Circuit from this Court’s Order (dkt. 33) denying

Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction.

                                        Respectfully submitted,

       John W. Mauck                           /s/ Daniel J. Schmid
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of May, 2020, I caused a true and correct copy of the

foregoing to be electronically filed with this Court. Service will be effectuated on all counsel of

record via this Court’s ECF/electronic notification system.

                                             /s/ Daniel J Schmid
                                             Daniel J. Schmid




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